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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA                 )
                                         )
                                         )
      v.                                 )       CRIMINAL NO. 21-CR-642(JDB)
                                         )
                                         )
DARRELL NEELY                            )


DEFENDANT’S RESPONSE TO THE GOVERNMENT’S MOTION FOR IMMEDIATE
              HEARING AND MOTION TO REVOKE BOND


      Mr. Darrell Neely, through his attorney, Kira Anne West, respectfully files

this response to the Government’s motion for immediate hearing and motion to

revoke bond and states the following in opposition:

      The Government correctly indicates in the motion, ECF #54, that Mr. Neely

has been difficult to contact, but is incorrect when it states that he has the intention

to flee the jurisdiction. He does not. Mr. Neely is simply trying to safely secure

housing for two elderly family members in an area less expensive than the DMV

area. This is no reason to revoke bond. Undersigned counsel is available for a

hearing anytime except September 8, 2022, wherein undersigned counsel is before

Judge Hogan all day in a pretrial motions hearing.

      The government further states that it has a witness who has reported to the

Government that Mr. Neely intends to flee. Mr. Neely questions the reliability and
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credibility of this alleged witness and would ask the Court to order the Government

to divulge the identity of this witness, if not to the defense, at least to the Court in

camera.

      Finally, the Government asks this Court to vacate the trial date. Undersigned

counsel opposes the request to vacate the trial date as she has been preparing for

trial and can be prepared for trial on October 5, 2022.

                                         Respectfully submitted,

                                         KIRA ANNE WEST



                                  By:              /s/
                                         Kira Anne West
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                                         Attorney for Mr. Neely


                           CERTIFICATE OF SERVICE

       I hereby certify on the 6th day of September, 2022, a copy of same was
delivered to the parties of record, by ECF pursuant to the Covid standing order and
the rules of the Clerk of Court.
                                                   /S/

                                                Kira Anne West




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